Case 23-10730-mdc     Doc 16   Filed 07/09/23 Entered 07/09/23 23:43:44          Desc Main
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                IN THE UNITED STATES BANKRUPTCY COURT FOR
                 EASTERN[DISTRICT] DISTRICT OF [STATE]
                                                PENNSYLVANIA
                             [DIVISION] DIVISION
                    PHILADELPHIA

  In re
                                                            In Chapter [Ch]
                                                                       7 Proceeding
  [Debtor 1 Name] MOSSOR
  CHRISTOPHER                                               Case No. [Case  Number]
                                                                     23-10730
  [Debtor 2 Name]

                                           Debtors.


               REQUEST TO DISCONTINUE SERVICE OF NOTICES

            PLEASE TAKE NOTICE that [Client     Client
                                          Synchrony    Client] c/o PRA Receivables
                                                    Bank
     Management, LLC hereby withdraws its Request for Special Notice filed on
     [RFN  File Date] Docket Number [10].
     3/15/2023                      6



                             th
           Dated: This [Day]
                       9        day of [Month],
                                       July     [Year]
                                                2023




                                                      By:   /s/Valerie Smith
                                                            Valerie Smith
                                                            PRA Receivables Management, LLC
                                                            PO Box 41021
                                                            Norfolk, VA 23541
                                                            TEL: (877) 885-5919
                                                            FAX: (757) 351-3257
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                                       Certificate of Service
              I hereby certify that a copy of the foregoing was served electronically to the following
   parties:


   [Attorney
    STEPHENName]
             MATTHEW DUNNE
   Attorney

   [Trustee
   CHRISTINEName]
                C SHUBERT
   Chapter [Ch]
           7 Trustee


                                 th
               Dated: This [Day]
                           9        day of [Month],
                                           July     [Year]
                                                    2023



                                                              By:     /s/Valerie Smith
                                                                     Valerie Smith
                                                                     PRA Receivables Management, LLC
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